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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION

                           In re 23ANDME, INC.         MDL No. 1:23-P-47

                                        Proof of Service

       I hereby certify that a copy of the foregoing Notice of Appearance of Scott Edelsberg,
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 Santana, et al. v. 23andMe, Inc.                Lamons v. 23andMe, Inc.
 (Case No. 3:23-cv-05147-EMC)                    (Case No. 5:23-cv- 05178- EMC)
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(Case No. 5:23-cv- 05419-EMC)                (Case No. 5:23-cv- 05439-EMC)
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Schutz v. 23andMe Inc.                     Vickery v. 23andMe, Inc.
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